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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

In re Fannie Mae/Freddie Mac Senior       )
Preferred Stock Purchase Agreement Class  )
Action Litigations                        )             Misc. Action No. 1:13-mc-1288-RLW
_________________________                 )
This document relates to:                 )
ALL CASES                                 )
__________________________________________)

                  TREASURY DEFENDANTS’ MOTION TO DISMISS
              OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       Defendants, the Department of the Treasury and Jacob J. Lew, in his official capacity as

Secretary of the Treasury, hereby move to dismiss pursuant to Fed. R. Civ. P. 12, or, in the

alternative, for summary judgment pursuant to Fed. R. Civ. P. 56.    The reasons for this motion

are set forth in the attached memorandum and the administrative record filed with the Court.

Dated: January 17, 2014                             Respectfully submitted,

                                                    STUART F. DELERY
                                                    Assistant Attorney General

                                                    RONALD C. MACHEN, JR.
                                                    United States Attorney

                                                    DIANE KELLEHER
                                                    Assistant Branch Director

                                                    /s/Joel McElvain
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